Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 1 of 9 PagelD 1

FILED
UNITED STATES DISTRICT COURT ”
MIDDLE DISTRICT OF FLORIDA (HAY 14 py»,
ORLANDO DIVISION ae 00
Me OOLE a Cour;
NANKESURE PERSAUD, ALANOO. 1 BePLORIDA
Plaintiff, CASE NO.:

y-19-W- 147-0R)-31 TBS

-VS-
CAPITAL ONE BANK (USA), N.A.,

Defendant.
/

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, Nankesure Persaud, by and through the undersigned counsel,
and sues Defendant, CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION, and in
support thereof respectfully alleges violations of the Telephone Consumer Protection Act, 47
U.S.C. § 227 et seg. (‘TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §
559.55 et seq. (““FCCPA”).

INTRODUCTION

1. The TCPA was enacted to prevent companies like Defendant from invading
American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the
wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 2 of 9 PagelD 2

subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (11" Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-
333676A1 pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See
Mims v. Arrow Fin. Servs., LLC, 8.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F-S.B.,
746 F.3d 1242, 1249 (11" Cir. 2014)

8. The alleged violations described herein occurred in Osceola County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the
Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 3 of 9 PagelD 3

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.
FACTUAL ALLEGATIONS
9. Plaintiff is a natural person, and citizen of the State of Florida, residing in Osceola
County, Florida

10. _—_— Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. _—_— Plaintiff is an “alleged debtor.”

12. _— Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11" Cir. 2014).

13. Defendant is a corporation which was formed in Virginia with its principal place
of business located at 1680 Capital One Drive, McLean, VA 22102 and which conducts business
in the State of Florida.

14. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5)

16. Defendant called Plaintiff on Plaintiffs cellular telephone approximately seventy
(70) times in an attempt to collect an alleged debt.

17. | Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

18. | Upon information and belief, some or all of the calls the Defendant made to
Plaintiff's cellular telephone number were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or
Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 4 of 9 PagelD 4

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter
“auto-dialer calls”). Plaintiff will testify that he knew it was an auto-dialer because of the vast
number of calls he received from Defendant.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (407) ***-8228, and was the called party and recipient of Defendant’s calls.

20. Defendant placed an exorbitant number of automated calls to Plaintiffs cellular
telephone (407),***-8228 in an attempt to collect on an alleged credit card debt.

21. | Upon receipt of the calls from Defendant, Plaintiff's caller ID identified the calls
were being initiated from, but not limited to the following telephone number: (800) 955-6600.

22. On several occasions over the last year Plaintiff instructed Defendant’s
agent(s)/representative(s) to stop calling his cellular telephone.

23. ‘In or about January 2018, and on many other occasions, Plaintiff answered a call
to his aforementioned cellular telephone number. Plaintiff was connected to an
agent/representative of Defendant and informed the agent/representative “I’m not going to pay
the bill. It’s not my fault. I don’t need calls anymore.” |

24. | Each subsequent call Defendant made to Plaintiff's aforementioned telephone
number was knowing and willful and done so without the “express consent” of Plaintiff.

25. Despite clearly and unequivocally revoking any consent Defendant may have
believed they had to call Plaintiff on his cellular telephone, Defendant continues to place
automated calls to Plaintiff.

26. Plaintiff's numerous conversations with Defendant’s agent(s)/representative(s)
over the telephone wherein he demanded a cessation of telephone calls were in vain as

Defendant continued to bombard him with automated calls unabated.
Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 5 of 9 PagelD 5

27. ; Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

28. Due to the tremendous volume of calls Plaintiff received over a lengthy period of
time, he was not able to properly catalogue each and every call. However, attached hereto as
Exhibit A is a small sampling of some of the automated calls Plaintiff received to his cellular
telephone from Defendant.

29. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as they did to Plaintiff's cellular telephone in
this case.

30. . Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as they did to Plaintiff's cellular telephone in this case, with
no way for the consumer, Plaintiff, or Defendant to remove the number.

31. | Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff despite these individuals explaining to Defendant they wish for the calls to stop.

32. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this Complaint.

33. | Defendant has numerous complaints across the country against them asserting that
their automatic telephone dialing system continues to call despite requested to stop.

34. Defendant has had numerous complaints from consumers across the country
against them asking to not be called; however, Defendant continues to call the consumers.

35. | Defendant’s corporate policy provided no means for Plaintiff to have his number

removed from Defendant’s call list.
Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 6 of 9 PagelD 6

36. | Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

37. Not a single call placed by Defendant to Plaintiff was placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

38. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

39. | From each and every call placed without consent by Defendant to Plaintiff's
cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his
right of seclusion.

40. From each and every call without express consent placed by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of occupation of his cellular telephone
line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate
callers or outgoing calls while the telephone was ringing from Defendant’s calls.

41. From each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time.
For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for
the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone
and deal with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff's cellular telephone, which are designed to
inform the user of important missed communications.

42. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call
Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 7 of 9 PagelD 7

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of
these features of Plaintiff's cellular telephone, which are designed to inform the user of
important missed communications.

43. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff's cellular
telephone’s battery power.

44. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone where a voice message was left which occupied space in Plaintiff's telephone
or network.

45. Each and every call placed without express consent by Defendant to Plaintiff's
cellular phone resulted in the injury of a trespass to Plaintiff's chattel, namely his cellular
telephone and his cellular telephone services.

46. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affected in a personal and individualized way by severe stress.

COUNT I
(Violation of the TCPA)

47. Plaintiff fully incorporates and realleges paragraphs one (1) through forty six (46)
as if fully set forth herein.

48. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff notified
Defendant that he wished for the calls to stop.

49. Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 8 of 9 PagelD 8

Plaintiff's prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION for statutory
damages, punitive damages, actual damages, treble damages, enjoinder from further violations of
these parts and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

50. Plaintiff fully incorporates and realleges paragraphs one (1) through forty six (46)
as if fully set forth herein

51. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

52. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his family with such frequency as can reasonably be expected
to harass the debtor or his family.

53. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his
family.

54. Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION for statutory
damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

8
Case 6:18-cv-00747-GAP-T_S Document 1 Filed 05/15/18 Page 9 of 9 PagelD 9

Respectfully submitted,

/s/ Jason R. Derry
Jason R. Derry, Esquire
Florida Bar No.: 36970
Morgan & Morgan, Tampa, P.A.
One Tampa City Center
201 N. Franklin Street, 7th Floor
Tampa, FL 33602
Tele: (813) 223-5505
Fax: (813) 223-5402
Primary email: JDerry@ForThePeople.com
Secondary email: JessicaK@ForThePeople.com
Attorney for Plaintiff
